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Attorneys for Defendant Absolute Coatings, LLC

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


RENEX NY CORP.,                                     Case No. 2:23-cv-00489-WJM-JRA

               Plaintiff,                        APPLICATION PURSUANT TO LOCAL
                                                 CIVIL RULE 6.1(b) FOR EXTENSION OF
       v.                                         TIME WITHIN WHICH DEFENDANT
                                                   ABSOLUTE COATINGS, INC. MAY
SUPPLY DEPOT LLC, MATEUS ZIMA,                  ANSWER, MOVE, OR OTHERWISE REPLY
and ABSOLUTE COATINGS, INC.,                             TO THE COMPLAINT

               Defendants.                            (Document Filed Electronically)


       Application is hereby made for a Clerk’s Order extending time within which Defendant,

Absolute Coatings, Inc. (“Defendant”) may answer, move, or otherwise reply to the Complaint

filed on January 27, 2023, by Plaintiff Renex NY Corp. (“Plaintiff”) (Dkt. No. 1), and it is

represented that:

       1.      There have been no prior extensions of time for Defendant to answer, move, or

otherwise reply to the above-listed pleading;

       2.      Service of Process was effected on February 6, 2023; and

       3.      Defendant’s time to answer, move, or otherwise reply to the above-listed pleading

would otherwise expire on February 27, 2023.
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        Defendant respectfully requests a Clerk’s Order that extends the deadline for Defendant to

answer, move, or otherwise reply to the above-listed pleading by fourteen (14) days to March 13,

2023.


Dated: February 15, 2023                     Respectfully submitted,


                                             s/ Cali R. Spota
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                                          ORDER

       The above application is ORDERED GRANTED, and the time for Defendant Absolute

Coatings, LLC to answer, move, or otherwise reply to the Complaint is extended for a period of

fourteen (14) days, up to and including March 13, 2023.




ORDER DATED: ____________________


                                                WILLIAM T. WALSH, Clerk



                                                By: __________________________
                                                    Deputy Clerk
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                                CERTIFICATE OF SERVICE

       I, the undersigned attorney for Defendant Absolute Coatings, LLC, hereby certify that a

true and correct copy of the foregoing APPLICATION PURSUANT TO LOCAL CIVIL RULE

6.1(b) FOR EXTENSION OF TIME WITHIN WHICH DEFENDANT ABSOLUTE COATINGS,

INC. MAY ANSWER, MOVE, OR OTHERWISE REPLY TO THE COMPLAINT was filed

electronically on this date and served upon all counsel of record via the Court’s ECF system.



Dated: February 15, 2023                     FOX ROTHSCHILD LLP

                                             s/ Cali R. Spota

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